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OFFICE OF THE
HARRIS COUNTY ATTORNEY

CHRISTIAN D. MENEFEE

June 14, 2023

Via USPS Express Mail
Nathan Ochsner

Clerk of Court

P. O. Box 61010
Houston, TX 77208

Re: Civil Action No. 4:22-cv-03451; Roy Thompson v John Doe #1; In the United States
District Court for the Southern District of Texas, Houston Division

Dear Mr. Ochsner:

Please file, under seal, the attached, a thumb drive containing documents labeled Exhibit
L to Amicus Curiae, Harris County Attorney’s Office’s Martinez Report Filed Under Seal of Court
[Doc, #19] in the above-referenced case.

Very truly yours,

/s/ Amy Magness VanHoose

AMY MAGNESS VANHOOSE
Senior Assistant County Attorney
Texas State Bar No. 24042085
Federal I.D. No. 560463

1019 Congress

Houston, Texas 77002

(713) 274-5136 (telephone)

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Attorney for Amicus Curiae, Harris County
Attorney’s Office

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United States District Clerk's Office
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